                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                         )
                                                  )   1:10-CR-75-14
 v.                                               )
                                                  )   Collier/Carter
 KRISTI MILLER                                    )

                                             ORDER

        On November 4, 2010, United States Magistrate Judge William B. Mitchell Carter filed a

 Report and Recommendation (“R&R”) (Court File No. 261) recommending the Court deny

 Defendant Kristi Miller’s motion to suppress (Court File No. 222). Neither party filed an objection.

        After reviewing the record and the applicable law, the Court agrees with the magistrate

 judge’s findings of fact and conclusions of law. Therefore, the Court ACCEPTS and ADOPTS

 the R&R (Court File No. 261) pursuant to 28 U.S.C. § 636(b)(1), and DENIES Defendant’s motion

 to suppress (Court File No. 222).



        SO ORDERED.

        ENTER:



                                               /s/
                                               CURTIS L. COLLIER
                                               CHIEF UNITED STATES DISTRICT JUDGE




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